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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 CHIEF OF STAFF LLC, Individually and             *    Civil Action No. 1:20-cv-03169
 on Behalf of All Others Similarly Situated,      *
                                                  *
         Plaintiff,                               *    JUDGE GARY S. FEINERMAN
                                                  *
                       vs.                        *
                                                  *    MAGISTRATE JUDGE MARIA VALDEZ
 HISCOX INSURANCE COMPANY INC.,                   *
                                                  *
         Defendant                                *    ORAL ARGUMENT REQUESTED
                                                  *
 * * * * * * * * * * * * * * * * * * *

                  DEFENDANT HISCOX INSURANCE COMPANY, INC.’S
                        RULE 12(b)(6) MOTION TO DISMISS

        Defendant Hiscox Insurance Company, Inc. (“Hiscox”) moves the Court to dismiss the

first amended complaint filed by plaintiff Chief of Staff, LLC (“COS”), pursuant to Rule 12(b)(6)

of the Federal Rules of Civil Procedure. In this insurance-coverage dispute, COS seeks payment

for coronavirus-related business interruption losses, but, as explained more fully in the

accompanying memorandum and attached exhibits, COS’s policy does not cover, and in fact

excludes, the losses as a matter of law.

        Considering Hiscox’s arguments and its supporting exhibits, this court should find COS

has failed to state a claim for relief on behalf of itself or the purported class as a matter of law and

dismiss COS’s first amended class-action complaint.




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                                  Respectfully submitted,

                                  Defendant Hiscox Insurance Company, Inc.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2020, I electronically filed the foregoing document with

the Clerk of the Court by using the CM/ECF system, which will send a notice of filing to:

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